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S LIABILITYLITIGA TION
(SEE ATTA CHED SCHEDULE)

CONDITIONAL TRANSFER ORDER (CTO-I9)

It appears that the actions on this conditional

transfer order involve questions of fact which are common
to the actions previously transferred to the Ea

stern District of Louisiana and assigned to .Tudge Fallon.

Pursuant to Rule 7.4 of the Rules of Procedure ofth

F.R.D. 425, 435- 6 (2001), these actions are transferred under 28 U.S.C. § 1407 to the Eastern District
ofLouisiana for the reasons stated in the order of February 16, 2005, 360 F.Supp.Zd `i352 (J.P.M.L.
2005), and, with the consent ofthat eourt, assigned to the Honorable Eldon E_ Fallon. i

This order does not become effective until it is filed in the Offtce ofthe Clerk ofthe United States
District Court for the Eastern District of Louisiana. The transmittal of this order to said Clerk shall be
stayed fifteen (15) days from the entry thereof and if any party files a notice of opposition with the Clerk
ofthe Panel within this fifteen (I 5) day period, the stay will be continued until further order ofthe Panel.

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" FOR THE PANEL: .&

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Case 1:05-cv-01154-.]DT-STA Document 13 Filed 08/15/05 Page 2 of 5 Page|D 9
UNITED STATES DISTRICT CoURT

EASTERN DISTRlCT oF louislANA
OFFICE oF rHF. CLERK

LoRRETTA G. WHYTE l 500 PoYDRAs ST., SU:TE C-151
CLERK Naw ORLEANS, LA 70130

August 10, 2005

Robert Di Trolio, Clerk
United States District Court
Western District of Tennessee
111 S. Highland

Jackson, TN 38301

ln Re: MDL 1657 Vioxx Products Liability Litigation L (3)

 

Dear Mr. Di Trolio:

Enclosed are certified copies of a transfer order received from the Multidistrict Litigation Panel
in Washington, D.C. lt instructs that the cases listed on the attached page be transferred to our district
for disposition pursuant to Title 28 USC 1407, as soon as possible. Our office has assigned new civil
action numbers to these cases as referenced on the attached page.

DO NOT FORWARD THE ORIGINAL RECORD. The Honorable Eldon E. Fallon, U.S.
District Court Judge issued an order directing that the transfer of records consist of only a certified
copy of the complaint (including notice of removal, if applicable), any amendments, the docket sheet
and the MDL Transfer Order, together With a copy of the transfer letter be forwarded to the transferor
court.

Due to the high volume of cases involved in this litigation please provide

a er co ies of the above documents instead of sim l referrin to our Website.
Your prompt attention in this matter is greatly appreciated

 

Should you have any questions regarding this request, please contact Dina Guilbeau at
(504)589-7704.

Very truly yours,,
Loretta G. e, lerk

/ s
Deputy Clerk

By

Enclosures
cc: Judicial Panel on Multidistrict Litigation

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Case 1:05-cv-01154-.]DT-STA Document 13 Filed 08/15/05 Page 3 of 5 Page|D 10

 

Your Case Nos. Case Title Our Case Nos.
1:05-1146 Earnestine L. Bills v. Merck & Co., lnc. 05-3630 L_Q_)W
. -1154 lillian O. Dawson. et al v. Merck & Co., Inc. 05-3631 ij;)/

 

105-1155 Austin B. Franks, et al v. Mercl< & Co., Inc. 05-3632 L (3)

Case 1:05-cv-01154-.]DT-STA Document 13 Filed 08/15/05 Page 4 of 5 Page|D 11

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

EASTERN DIVISION
TliOmaS l\/l. GOUld 111 South Highland Ave., Room 262

Clerk Of COUl‘t Jacl<son, Tennessee 38301
' 731-421-9200
731-421-9210 FHX

August 16, 2005

United States District Court
Eastern District of Lousiana

500 Poydras St., Room C-151
New Orleans, LA 70130

/
,

Rli: Li`lliari O. Dawson vs. Merck & Co., lnc., Et al.,
05-3631 L (3) -Your Case No.
05-1154 T/An -Our Case No.

Dear Clerl<:

Pursuant to the Conditional Transfer Order (CTO-19) the above referenced case has been transferred to the
United States District Court for the Eastem District ofLoui`siana . Please find enclosed a certified copy of
the Notice of Removal/Lower Court Complaint, Docket Sheet, MDL Transfer Order, and a copy of the
transfer letter to the transferor court. lam also enclosing a copy ofthis cover letter and requesting that you
acknowledge receipt and return it to our office in the provided envelopel Thank you for your attention in
this matter.

Thomas M. Gould, Clerk

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Deputy Clerk

ENCLOSURES

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 1:05-CV-01154 was distributed by faX, mail, or direct printing on
August 16, 2005 to the parties listed.

ESSEE

 

Charles C. Harrell

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Austin7 TX 78701

Steven G. Ohrvall

H[LL BOREN- .lackson
1269 N. Highland Ave.
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.lackson7 TN 38303--353

Lisa M. Martin

BUTLER SNOW O'MARA STEVENS & CANADA, PLLC

6075 Poplar Ave.
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1\/lemphis7 TN 38119

Honorable .l ames Todd
US DISTRICT COURT

